
Chancellor Taylor, “
being of opinion that there is
no error in the decree sought by the said bill to be reviewed,” rejected the motion for leave to file the bill; from which order the said Charles Williamson appealed.
The following was the opinion of this court.
. “ This court is of opinion that the limitation of the slaves in the bill and proceedings mentioned, being after an indefinite failure of issue, was void; that the decree of the said court of chancery, adjudging it to be good, is erroneous ; and that, consequently, the order aforesaid of the said court rejecting the motion of the appellant for leave to file a bill for’the purpose of reviewing the same, is also erroneous: therefore it is decreed and ordered, that the' said order be reversed and annulled; and that the appellees, who are executors, out of the estate of their testator in their hands to be administered, if so much thereof they have, but if not, then out of their own estates, and the other appellee in his own right, pay to the appellant his costs by him expended in the prosecution of {|i^^ppeal aforesaid here. And it is ordered that the cá^MÍÍ$^remanded^í&amp; the said court of chancery, with directions to that hourt to receive the said bill of review, and proceed thereupon, according to the principles nsw stated, in order to a final decree.”
